[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION ON MOTION FOR SUMMARY JUDGMENT (107)
This is an action by which plaintiff seeks to recover for legal services. Defendant has filed an answer. The pleadings having been closed, plaintiff has moved for summary judgment.
On motion for summary judgment the rules require that judgment be rendered forthwith if the pleadings, affidavits and other proof submitted show that there is no genuine issue as to any material fact and that the moving party is entitled to judgment as a matter of law. Connecticut Practice Book 384.
Plaintiff has submitted an affidavit and other evidence which supports his claim for summary judgment and defendant has failed to submit any evidence to the contrary. Where, as here, a party does not respond to the proof offered by the moving party, the court is entitled to rely on the facts stated in the affidavits of the movant. Bartha v. Waterbury House Wrecking Co., 190 Conn. 8, 11.
A review of the proof submitted by plaintiff and a consideration of the applicable law causes the court to conclude that there is no genuine issue of fact and that plaintiff is entitled to judgment as a matter of law.
Accordingly, summary judgment is rendered for plaintiff in the amount of $870.00, together with statutory interest to date and costs.
PURTILL, J. CT Page 2726